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                             15   RIMINI STREET, INC., a Nevada corporation
                             16

                             17                               UNITED STATES DISTRICT COURT
                             18                                      DISTRICT OF NEVADA
                             19
                                  RIMINI STREET, INC., a Nevada corporation
                             20                                                        Case No.
                                                        Plaintiff,
                             21
                                         v.                                            COMPLAINT FOR DECLARATORY
                             22                                                        JUDGMENT
                                  ORACLE INTERNATIONAL
                             23   CORPORATION, a California corporation,               (JURY TRIAL DEMANDED)
                             24                         Defendant.
                             25

                             26          Plaintiff Rimini Street, Inc. (“Rimini”) for its Complaint for Declaratory Judgment against
                             27   Defendant Oracle International Corporation alleges as follows:
                             28


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                              1                  NATURE OF THE ACTION AND FACTUAL BACKGROUND
                              2          1.      Plaintiff Rimini seeks a judgment declaring that, since at least July 31, 2014, it has
                              3   not infringed Oracle’s copyrights.
                              4          2.      Oracle1 is the world’s largest enterprise software company. Oracle also provides
                              5   support services for the enterprise software applications it licenses to customers. Rimini Street
                              6   provides after-market support services for enterprise software applications—including software
                              7   applications licensed by Oracle.
                              8          3.      Rimini Street is Oracle’s fastest-growing competitor for the after-market support
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                              9   business of Oracle’s Siebel, PeopleSoft and JD Edwards enterprise software products.
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                             10          4.      On January 25, 2010, Oracle filed a Complaint against Rimini Street in the District
                             11   of Nevada alleging, inter alia, infringement under 17 U.S.C. § 106 of various copyrights that
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                             12   purportedly covered “numerous versions of Oracle software, including the updates, patches and
                             13   fixes incorporated in each relevant version, service packs of Oracle updates, patches and fixes, and
                             14   individual exemplar Software and Support Materials, including certain Oracle knowledge
                             15   management solutions and certain Oracle updates, patches and fixes.” Oracle USA, Inc., et al v.
                             16   Rimini Street, Inc., et al, Case No. 2:10-cv-00106 (D. Nev.),2 Dkt. 1.
                             17          5.      On March 29, 2010, Rimini Street answered Oracle’s Complaint, denying Oracle’s
                             18   copyright infringement allegations. Oracle v. Rimini Street, Dkt. 30. Rimini Street asserted that its
                             19   license agreements, or the license agreements of its clients, authorized its activities with respect to
                             20   the asserted copyrights. See, e.g., Rimini Street’s Second Affirmative Defense, Oracle v. Rimini
                             21   Street, Dkt. 30 at 25.
                             22          6.      On March 30, 2012, Oracle filed a First Motion for Partial Summary Judgment of
                             23   Infringement, moving for summary judgment of infringement of eight copyright registrations
                             24   relating to Rimini Street’s provision of services for four of its clients. Oracle v. Rimini Street,
                             25   Dkts. 237, 246. In Rimini Street’s Response, it argued that various provisions of its clients’ license
                             26

                             27   1
                                    As used herein “Oracle” refers to collectively to Defendant Oracle International Corporation, as
                                  well it related corporate entities Oracle USA, Inc. (“Oracle USA”), Oracle America, Inc. (“Oracle
                             28   America”).
                                  2
                                    Hereinafter “Oracle v. Rimini Street.”
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                              1   agreements Oracle authorized Rimini’s activities with respect to these clients. See Oracle v.
                              2   Rimini Street, Dkt. 266.
                              3          7.      On February 13, 2014, the Court in Oracle v. Rimini Street issued an Order on
                              4   Oracle’s First Motion for Partial Summary Judgment, finding that Rimini Street had infringed six
                              5   of Oracle’s copyrights relating to PeopleSoft software when provisioning services to two of
                              6   Rimini Street’s PeopleSoft clients. Oracle v. Rimini Street, Dkt. 474. The Court found that there
                              7   were disputed issues of fact for the remaining copyrights and clients at-issue in Oracle’s First
                              8   Motion for Partial Summary Judgment. Id.
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                              9          8.      While Rimini Street respectfully disagrees with the Court’s findings regarding
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                             10   PeopleSoft and reserves its right to appeal the same, Rimini Street modified its services to
                             11   discontinue use of the processes the Court found to be infringing in its February 13, 2014 Order.
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                             12   By July 31, 2014, Rimini Street had completed its migration to processes compliant with the
                             13   Court’s February 13, 2014 Order.
                             14          9.      Given this change in Rimini’s operations, Rimini Street and Oracle jointly
                             15   requested a case management conference (“CMC”) in the Oracle v. Rimini Street to determine the
                             16   impact of Rimini’s modified services on the trial in that matter. See generally Dkt. 490. In the
                             17   parties’ CMC request, Oracle asserted Rimini Street’s new processes were “suspect” and raised
                             18   “significant suspicions that Rimini’s ‘new’ support model involves all the same infringing acts as
                             19   the ‘old’ support model that the Court has already ruled was copyright infringement” Id. at 5.
                             20   Oracle also asserted that evidence of Rimini’s new processes should not be included in Oracle v.
                             21   Rimini Street case based on the supposed necessity of “six months to a year of intensive
                             22   discovery,” after which Oracle is “confident it could show that Rimini’s new support process is
                             23   old wine in a new bottle and every bit as infringing as the old process.” Id. at 7–8.
                             24          10.     The Court scheduled and conducted the requested CMC on October 9, 2014.
                             25   During the course of the conference, the Court made clear that the trial in Oracle v. Rimini Street
                             26   would not address liability or damages arising after the Court’s February 13, 2014 order, finding
                             27   that no additional discovery regarding Rimini’s transition to a different service model was
                             28   necessary in that case. During the course of the conference in open court, counsel for Oracle made


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                              1   reference to future litigation to address alleged post-February 2014 infringement claims by Oracle
                              2   against Rimini.
                              3          11.     Given this outcome, and in light of Oracle International Corporation’s continuing
                              4   claims that Rimini’s new processes are infringing, Rimini now brings this suit seeking a
                              5   declaration that Rimini’s current processes do not infringe Oracle’s copyrights.
                              6                                                PARTIES
                              7          12.     Plaintiff Rimini Street, a Nevada corporation with its headquarters in Las Vegas, is
                              8   a leading provider of independent support and maintenance for enterprise software, including
3993 Howard Hughes Parkway




                              9   software licensed by Oracle.
Las Vegas, Nevada 89169




                             10          13.     Defendant Oracle International Corporation is a California corporation, with its
                             11   principal place of business in Redwood City, California. Oracle International Corporation is the
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                             12   owner or exclusive licensee of the copyrights at issue in this action.
                             13                                     JURISDICTION AND VENUE
                             14          14.     This Court has original jurisdiction over the subject matter of this lawsuit pursuant
                             15   to 28 U.S.C. §§ 1331 and 1338 because this case arises under the Copyright Act, 17 U.S.C. §§ 101
                             16   et seq. This lawsuit is brought pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201.
                             17          15.     Plaintiff is informed and believes, and upon such information and belief alleges,
                             18   that Defendant has systematically and continuously availed itself of the privilege of doing business
                             19   in Nevada to exploit the copyrights at issue in this action. These copyrights are currently being
                             20   asserted against Plaintiff in Oracle v. Rimini Street, which Defendant itself brought in this District.
                             21   Defendant therefore has sufficient contacts with this District, both generally and specifically in
                             22   connection with the facts alleged in this action. Oracle International Corporation is thus subject to
                             23   personal jurisdiction in this Court.
                             24          16.     Venue in this District is appropriate, pursuant to 28 U.S.C. § 1391, because a
                             25   substantial part of the events giving rise to the dispute occurred in this District and because the
                             26   Court has personal jurisdiction over the Defendant as alleged throughout this Complaint.
                             27

                             28


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                              1           17.      Assignment to the Las Vegas division is proper under Civil Local Rule IA8-1(a),
                              2   because this action arises, in part, in Las Vegas, where Rimini Street is headquartered and where
                              3   Oracle v. Rimini Street is pending.
                              4                 DEFENDANT’S ACTS COMPRISING ACTUAL CONTROVERSY
                              5           18.      Plaintiff re-avers and re-states the foregoing Paragraphs 1–17 inclusively as if fully
                              6   set forth herein.
                              7           19.      In spite of Rimini’s current business model modified to comply with the Court’s
                              8   February 13, 2014 Order in Oracle v. Rimini Street, Oracle continues to allege that Rimini’s
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                              9   business practices infringe Oracle’s copyrights.
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                             10           20.      In its recent public filings with this Court in Oracle v. Rimini Street, Oracle,
                             11   including Oracle International Corporation, referred to Rimini’s new business model as “suspect,”
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                             12   and “raise[d] significant suspicions that Rimini’s ‘new’ support model involves all the same
                             13   infringing acts as the ‘old’ support model that the Court has already ruled was copyright
                             14   infringement.”
                             15           21.      Regarding the specific differences between Rimini’s old and new business model,
                             16   Oracle alleged, “[t]he only apparent difference between the ‘new’ and the ‘old’ does not appear to
                             17   be a change in the development process, but that Rimini’s conduct takes place in the cloud . . . .”
                             18           22.      Oracle alleges that Rimini’s support of customers implicates “infringement no
                             19   matter where that happens.”
                             20           23.      Oracle claims that “Oracle is confident it could show that Rimini’s new support
                             21   process is old wine in a new bottle and every bit as infringing as the old process.”
                             22           24.      Oracle International Corporation’s statements make clear that a credible threat of
                             23   immediate litigation exists for copyright infringement against Rimini.
                             24           25.         In light of Oracle International Corporation,’ public statements in this Court and
                             25   to Rimini’s current and prospective clients, there presently exists a justiciable controversy
                             26   regarding the Plaintiff’s right to provide support PeopleSoft, J.D. Edwards and Siebel software
                             27   free of any allegation by Oracle that such conduct constitutes an infringement of any copyright
                             28   rights owned by Oracle. The parties are plainly competitors at war, and the form of the war is


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                              1   Rimini’s processes for providing support to Oracle software and related copyrights, and, thus, they
                              2   have adverse legal interests over a dispute of sufficient reality that is capable of conclusive
                              3   resolution through a declaratory judgment.
                              4                                         CLAIM FOR RELIEF:
                              5                            (Declaration of Non-Infringement of Copyright)
                              6           26.     Plaintiff re-avers and re-states the foregoing Paragraphs 1–25 inclusively as if fully
                              7   set forth herein.
                              8           27.     This is a declaratory judgment action under (i) the United Sates Copyright Act of
3993 Howard Hughes Parkway




                              9   1976, 17 U.S.C. § 101 et seq. (the “Copyright Act”), and 28 U.S.C. §§ 2201 and 2202 (the
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                             10   Declaratory Judgment Act). As an actual justiciable controversy exists by way of the credible
                             11   threat of immediate litigation, Plaintiff seeks relief from this Court.
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                             12           28.     In light of the changes to Rimini’s processes since this Court’s February 2014
                             13   Order, Plaintiff requests a judgment declaring that, since at least July 31, 2014, Plaintiff has not
                             14   infringed copyrights in Oracle software, including the software applications and support material
                             15   covered the certificates are identified, dated and numbered below:
                             16       Title of Work                       Date of Registration         Registration Number
                             17       PeopleTools 7.5                      November 20, 1998            TX 4-792-578
                             18       PeopleSoft 7.0 financials,           December 15, 1998            TX 4-792-576
                                      distribution & manufacturing
                             19       7.0
                                      PeopleSoft HRMS 7.0                  December 15 1998             TX 4-792-577
                             20       PeopleSoft HRMS 7.5                  December 15, 1998            TX 4-792-575
                                      PeopleSoft Financials,               December 15, 1998            TX 4-792-574
                             21       Distribution & Manufacturing
                                      7.5
                             22       PeopleTools 8.10                     September 5, 2000            TX 5-266-221
                             23       PeopleSoft Financials and            November 20, 2000            TX 5-291-439
                                      Supply Chain Management
                             24       (FIN/SCM) 8.0
                                      PeopleSoft 8 HRMS                    November 28, 2000            TX 5-311-638
                             25       PeopleBooks
                                      PeopleSoft 8 Financials and          November 28, 2000            TX 5-311-637
                             26       Supply Chain Management
                                      PeopleBooks
                             27       PeopleSoft 8 HRMS SP1                March 26, 2001               TX 5-501-312
                                      Oracle 8i Enterprise Edition,        February 2, 2001             TX 5-222-106
                             28       release 2 (8.1.6)
                                      PeopleSoft 8 FIN/SCM SP1             March 26, 2001               TX 5-501-313
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                              1       PeopleSoft 8 EPM SP3            March 30, 2001       TX 5-345-698
                                      PeopleSoft 8 Customer           September 27, 2001   TX 5-456-778
                              2       Relationship Management
                                      PeopleBooks
                              3       PeopleSoft 8 Promotions         September 27, 2001   TX 5-456-781
                                      Management, Collaborative
                              4       Supply Management,
                                      eRFQ,Supplier Connection,
                              5       and Supply Chain Portal Pack
                                      PeopleBooks
                              6
                                      PeopleSoft 8 Customer           September 27, 2001   TX-5-456-777
                              7       Relationship Management
                                      PeopleSoft 8 Financials and     September 27, 2001   TX-5-456-780
                              8       Supply Chain Management:
                                      Service Pack 2
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                              9       PeopleSoft 8 FIN/SCM SPI        October 19, 2001     TX 5-595-355
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                                      PeopleBooks
                             10       PeopleSoft 8 Student            November 30, 2001    TX 5-431-290
                                      Administration Solutions
                             11       PeopleBooks
                                      PeopleSoft 8.3 HRMS             February 1, 2002     TX 5-469-031
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                             12       PeopleBooks
                                      PeopleSoft 8.3 HRMS             February 1, 2002     TX 5-469-032
                             13       PeopleSoft 8.3 Enterprise       March 11, 2002       TX 5-485-842
                                      Performance Management
                             14       PeopleBooks
                                      PeopleSoft 8.3 Enterprise       March 11, 2002       TX 5-485-839
                             15       Performance Management
                                      PeopleSoft 8.1 Customer         March 20, 2002       TX 5-733-209
                             16       Relationship Management
                                      PeopleBooks
                             17       PeopleSoft 8.1 Customer         March 20, 2002       TX 5-493-450
                                      Relationship Management
                             18       PeopleSoft 8.4 Financials and   August 5, 2002       TX-5-586-247
                                      Supply Chain Management
                             19       PeopleTools 8.4                 August 5, 2002       TX 5-586-248
                             20       PeopleTools 8.4 PeopleBooks     August 5, 2002       TX 5-586-249
                                      PeopleSoft 8.4 Financials and   August 5, 2002       TX 5-586-246
                             21       Supply Chain Management
                                      PeopleBooks
                             22       PeopleSoft 8.4 Customer         August 7, 2002       TX 5-586-236
                                      Relationship Management
                             23       PeopleBooks
                                      PeopleSoft 8.8 HRMS             June 11, 2004        TX 6-093-947
                             24       PeopleSoft 8.8 Customer         June 11, 2004        TX 6-015-317
                                      Relationship Management
                             25       PeopleSoft 8.8 Enterprise       June 11, 2004        TX-5-993-616
                                      Performance Management
                             26       Initial release of JDE          April 26, 2007       TX 6-541-033
                                      EnterpriseOne XE
                             27       Cumulative Update 8 for JDE     April 26, 2007       TX 6-541-048
                                      EnterpriseOne Xe
                             28       Initial release of JDE          April 26, 2007       TX 6-541-050
                                      EnterpriseOne 8.0
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                              1       Cumulative Update 1 for JDE        April 26, 2007       TX 6-541-034
                                      EnterpriseOne 8.0
                              2       Initial release of JDE             8.9 April 26, 2007   TX 6-541-049
                                      EnterpriseOne
                              3       Initial release of JDE             April 26, 2007       TX 6-541-038
                                      EnterpriseOne 8.10
                              4       Cumulative Update 2 for JDE        April 26, 2007       TX 6-541-032
                                      EnterpriseOne 8.10
                              5       Initial release of JDE             April 26, 2007       TX 6-541-028
                                      EnterpriseOne 8.11
                              6       Initial release of JDE             April 26, 2007       TX 6-541-040
                                      EnterpriseOne 8.11 SP1
                              7       ESU for JDE EnterpriseOne          April 26, 2007       TX 6-541-027
                                      8.11 SP1
                              8       Cumulative Update 1 for JDE        April 26, 2007       TX 6-541-039
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                                      EnterpriseOne 8.11 SP1
                              9       Initial release of JDE             April 26, 2007       TX 6-541-041
Las Vegas, Nevada 89169




                                      EnterpriseOne 8.12
                             10
                                      ESU for JDE EnterpriseOne          April 26, 2007       TX 6-541-045
                             11       8.12
                                      Cumulative Update 1 for JDE        April 26, 2007       TX 6-541-042
                                      EnterpriseOne 8.12
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                             12
                                      Initial release of JDE World       April 26, 2007       TX 6-541-029
                             13       A7.3
                                      Cumulative Update 16 for JDE       April 26, 2007       TX 6-541-031
                             14       World A7.3
                                      Initial release of JDE World       April 26, 2007       TX 6-541-047
                             15       A8.1
                                      Code Change for JDE World          April 26, 2007       TX 6-541-044
                             16       A8.1
                                      Initial release of JDE World       April 26, 2007       TX 6-541-030
                             17       A9.1
                                      Cumulative Update 6 for JDE        May 1, 2007          TX 6-545-421
                             18       World A8.1
                                      Siebel 6.3 Initial Release and     June 29, 2009        TX 6-941-989
                             19       Documentation
                                      Siebel 7.0.5 Initial Release and   June 29, 2009        TX 6-941-988
                             20       Documentation
                                      Siebel 7.5.2 Initial Release and   June 29, 2009        TX 6-941-990
                             21       Documentation
                                      Siebel 7.7.1 Initial Release and   June 29, 2009        TX 6-941-993
                             22       Documentation
                                      Siebel 7.8 Initial Release and     June 29, 2009        TX 6-941-995
                             23       Documentation
                                      Siebel 8.0 Initial Release and     June 29, 2009        TX 6-942-000
                             24       Documentation
                                      Siebel 8.1.1 Initial Release and   June 29, 2009        TX 6-942-001
                             25       Documentation
                                      Database of Documentary            July 1, 2009         TXu1-607-454
                             26       Customer Support Materials
                                      for PeopleSoft Software
                             27       Database of Documentary            July 1, 2009         TXu1-607-455
                                      Customer Support Materials
                             28       for J.D. Edwards Software

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                              1       Database of Documentary        July 1, 2009        TXu1-607-453
                                      Customer Support Materials
                              2       for Siebel Software
                                      Cumulative Update 3 for JDE    January 15, 2010    TX-7-041-278
                              3       EnterpriseOne 8.12
                                      Initial release of JDE         January 15, 2010    TX 7-041-256
                              4       EnterpriseOne 9.0
                                      Cumulative Update 1 for JDE    January 15, 2010    TX 7-041-267
                              5       EnterpriseOne 9.0
                                      Initial release of JDE World   January 15, 2010    TX 7-041-290
                              6       A9.2
                                      PeopleSoft HRMS 8.8 SP1        February 10, 2010   TX 7-065-376
                              7
                                      PeopleSoft HRMS 8.9            February 10, 2010   TX 7-065-381
                              8       PeopleSoft HRMS 9.0            February 10, 2010   TX 7-065-386
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                                      PeopleSoft HRMS 9.1            February 10, 2010   TX 7-065-398
                              9
                                      PeopleSoft Customer            February 10, 2010   TX 7-063-664
Las Vegas, Nevada 89169




                             10       Relationship Management 8.8
                                      SP1
                             11       PeopleSoft Customer            February 10, 2010   TX 7-063-668
                                      Relationship Management 8.9
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                             12       PeopleSoft Customer            February 10, 2010   TX 7-065-371
                                      Relationship Management 9.0
                             13       PeopleSoft Customer            February 10, 2010   TX 7-063-653
                                      Relationship Management 9.1
                             14       PeopleSoft Financials and      February 10, 2010   TX 7-063-688
                                      Supply Chain Management 8.8
                             15       PeopleSoft Enterprise          February 10, 2010   TX 7-063-683
                                      Performance Management 8.8
                             16       SP2
                                      PeopleSoft Enterprise          February 10, 2010   TX 7-063-672
                             17       Performance Management 8.9
                                      PeopleSoft Enterprise          February 10, 2010   TX 7-063-679
                             18       Performance Management 9.0
                                      PeopleSoft Financials and      February 11, 2010   TX 7-065-319
                             19       Supply Chain Management 8.8
                                      SP1
                             20       PeopleSoft Financials and      February 11, 2010   TX 7-065-332
                                      Supply Chain Management 8.9
                             21       PeopleSoft Financials and      February 11, 2010   TX 7-065-354
                                      Supply Chain Management 9.0
                             22       PeopleSoft Financials and      February 11, 2010   TX 7-065-357
                                      Supply Chain Management 9.1
                             23       PeopleSoft Student             February 24, 2010   TX 7-077-447
                                      Administration Solutions 8.0
                             24       SP1
                                      PeopleSoft Campus Solutions    February 24, 2010   TX 7-077-451
                             25       8.9
                                      PeopleSoft Campus Solutions    February 24, 2010   TX 7-077-460
                             26       9.0
                                      PeopleTools 8.42               March 8, 2010       TX 7-092-406
                             27       PeopleTools 8.43               March 8, 2010       TX 7-092-603
                             28       PeopleTools 8.44               March 8, 2010       TX 7-092-583
                                      PeopleTools 8.45               March 8, 2010       TX 7-092-617

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                              1       PeopleTools 8.46                     March 8, 2010                TX 7-092-772
                                      PeopleTools 8.47                     March 8, 2010                TX 7-092-797
                              2
                                      PeopleTools 8.48                     March 8, 2010                TX 7-092-819
                              3       PeopleTools 8.49                     March 8, 2010                TX 7-092-855
                                      PeopleTools 8.50                     March 8, 2010                TX 7-092-757
                              4

                              5
                                                                        REQUEST FOR RELIEF
                              6
                                         WHEREFORE, Rimini seeks judgment awarding it the following relief:
                              7
                                                   (a) An order declaring that, since at least July 31, 2014, Rimini has not infringed
                              8
3993 Howard Hughes Parkway




                                         copyrights in Oracle software, including the software applications and support material
                              9
Las Vegas, Nevada 89169




                             10          covered by the certificates identified in this Complaint;

                             11                    (b) An order awarding attorneys’ fees, costs, and expenses incurred in connection
Suite 600




                             12          with this action to Rimini; and
                             13
                                               (c) An order awarding such other and further relief as this Court deems just and
                             14
                                         proper.
                             15
                                         Dated this 15th day of October, 2014.
                             16

                             17
                                                                                 LEWIS AND ROCA LLP
                             18

                             19                                                  By: /s/ W. West Allen
                                                                                 W. WEST ALLEN (Nevada Bar No. 5566)
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                                                                                 Attorneys for Plaintiff
                             23                                                  RIMINI STREET, INC., a Nevada corporation

                             24

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